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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION



IN RE:         Tina Johnson,                      ) Judge: Thomas Lynch
                                                  ) Case No.:    17-82868
               Debtor.                            ) Chapter:     7
         ____________________________________ )________________________________
                                                  )
               Patrick Layng, US Trustee          ) Adversary Case:    18-96018
               Plaintiff                          )
                                                  )
               v.                                 )
                                                  )
               Michael C. Burr, Jafar Law Group )
               PLLC, Fairmax Law, Michael Jaafar, )
               David Ienna, Christina Banyon, and )
               David Carter                       )
               Defendants                         )



                 STIPULATION EXTENDING TIME TO FILE ANSWER

        Now comes the Plaintiff, the United States Trustee Patrick S. Layng, by his attorney
Debra L. Schneider, and Defendant, Christina Banyon, appearing on a pro se basis, and hereby
states as follows:

               1. That the parties are in the process of settlement.

               2. That by agreement, all parties agree to extend the deadline to file an Answer
                  to August 24, 2018.
Dated: August 10, 2018

                                                  By:    /s/    Christina Banyon
                                                    Christina Banyon, Defendant
                                                    Appearing pro se




                                                  By: /s/ _________Debra Schneider______
                                                   Patrick Layng, Plaintiff
                                                    By Debra Schneider, Attorney




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